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             UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA


OAO ALFA-BANK, ZAO ALFA-
ECO, MIKHAIL FRIDMAN and
PYOTR AVEN,
            Plaintiff(s),

                  vs.                            Civil Case No. 00-2208(JDB)

CENTER FOR PUBLIC INTEGRITY
KNUT ROYCE and NATHANIEL
HELLER
          Defendant(s).


               NOTICE REGARDING BULKY EXHIBIT

   Pursuant to the procedures for filing documents electronically, as outlined in the

   previous Order of the Court, this Notice serves as notification that an Exhibits

   has been filed in CD-Rom form in a the Clerk’s Office. It is available for public

    viewing and copying between the hours of 9:00 a.m. and 4:00 p.m., Monday through

   Friday.



                                                 NANCY MAYER-WHITTINGTON

                                                                 Clerk



   Date:8/3/04
